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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                  (Alexandria Division)

JODI C. MAHDAVI,

       Plaintiff
v.

NEXTGEAR CAPITAL, INC.                              Case No. 1:14-cv-0648-TSE-TCB

and

P.A.R. SERVICES, INC.,

       Defendants.
                                           /

                                               ORDER

       The Court, having considered Defendant P.A.R. Services, Inc.’s Amended Motion for

Summary Judgment, its supporting Memorandum, the Plaintiff’s Memorandum in Opposition

thereto, any reply of P.A.R. Services, Inc., and the respective argument of counsel.

       UPON CONSIDERATION WHEREOF, pursuant to FED. R. CIV. P. 56, it appearing that

there are genuine issues of material facts it is hereby

       ORDERED this ____ day of ____________, 20___ that Defendant P.A.R. Services,

Inc.’s Amended Motion for Summary Judgment is DENIED.

                                                            ________________________
                                                            Judge, United States District Court
                                                            for the Eastern District of Virginia
	  
